         Case5:15-cr-00226-EJD Document57 Filed08/14/15 Page1 of 2



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 5
     Counsel for Defendant, DOUGLAS STORMS YORK
 6

 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

10                                                 SAN JOSE DIVISION

11

12   UNITED STATES OF AMERICA,             )                   No. CR 15-00226 EJD
                                           )
13                     Plaintiff,          )                   DEFENDANT DOUGLAS STORMS
                                           )                   YORK’S ADDITIONAL PROPOSED JURY
14                                         )                   INSTRUCTION
     vs.                                   )
15                                         )                   Pretrial Conference: August 24, 2015
                                           )                   Time: 10:00 a.m.
16                                         )
     DOUGLAS STORMS YORK,                  )                   Trial Date: August 25, 2015
17                                         )
                       Defendant.          )
18   _____________________________________ )                   Honorable Edward J. Davila

19

20           Defendant Douglas Storms York, by and through Assistant Federal Public Defender Graham

21   Archer, submits this additional proposed jury instruction for the Court’s consideration in advance

22   of the pretrial conference set for August 25, 2015.

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     Def.’s Additional Proposed Jury Instruction
     CR 15-00226 EJD                                       1
         Case5:15-cr-00226-EJD Document57 Filed08/14/15 Page2 of 2



 1           Defendant York’s Disputed Instruction Re: Count Two - Elements of Offense

 2

 3   Mr. York is charged in Count Two of the Indictment with Telecommunications Device Harassment,

 4   in violation of Title 47, section 223(a)(1)(C) of the United States Code.

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 6   In Order for the Mr. York to be found guilty of this charge, the government must prove each of the

 7   following elements beyond a reasonable doubt:

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 9   First, On or about February 23, 2012;

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11   Second, Mr. York failed to disclose his identity;

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13   Third, Mr. York acted with the intent to abuse, threaten and harass a specific person;

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15   Fourth, Mr. York used a telecommunications device; and

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17   Fifth, the telecommunications device moved in interstate and foreign communications.

18   47 U.S.C. § 223(a)(1)(C)

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21   Dated: August 14, 2015                               Respectfully submitted,

22
                                                          STEVEN G. KALAR
23                                                        Federal Public Defender

24
                                                               s/
25                                                        GRAHAM ARCHER
                                                          Assistant Federal Public Defender
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     Def.’s Additional Proposed Jury Instruction
     CR 15-00226 EJD                                  2
